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 5
      CHURCHILL COUNTY AND
 6    BENJAMIN TROTTER

 7
 8                                UNITED STATES DISTRICT COURT

 9                                       DISTRICT OF NEVADA
10     MICHAEL ERWINE,                                        CASE NO. 3:18-cv-00461-RCJ-CSD
11
                                           Plaintiff,
12
       vs.                                                    DEFENDANTS’ MOTION FOR
13                                                            SUMMARY JUDGMENT
14     CHURCHILL COUNTY, a political subdivision
       of the State of Nevada; CHURCHILL COUNTY
15     SHERIFF BENJAMIN TROTTER; and DOES 1
       through 10 inclusive,
16
17                                        Defendants.

18
19           COME NOW Defendants, CHURCHILL COUNTY and BENJAMIN TROTTER,

20    by and through their attorneys of record, Thorndal Armstrong Delk Balkenbush & Eisinger, and

21    pursuant to FRCP 56 and the Court’s ruling at the hearing held on February 23, 2022, hereby

22    move the Court for its order granting summary judgment in their favor as there are no genuine

23    issues of material fact and the Defendants are entitled to judgment as a matter of law.

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             This motion is made and based upon the memorandum of points and authorities filed
 1
 2    herewith, the exhibits attached hereto and all pleadings and papers on file herein.

 3           DATED this 24th day of February, 2022.
 4
                                                    THORNDAL ARMSTRONG
 5                                                  DELK BALKENBUSH & EISINGER

 6                                                  By: /s/ Katherine F. Parks
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 7
 8                                UNITED STATES DISTRICT COURT

 9                                        DISTRICT OF NEVADA
10     MICHAEL ERWINE,                                         CASE NO. 3:18-cv-00461-RCJ-CSD
11
                                            Plaintiff,
12
       vs.                                                     MEMORANDUM OF POINTS AND
13                                                             AUTHORITIES IN SUPPORT OF
       CHURCHILL COUNTY, a political subdivision               DEFENDANTS’ MOTION FOR
14
       of the State of Nevada; CHURCHILL COUNTY                SUMMARY JUDGMENT
15     SHERIFF BENJAMIN TROTTER; and DOES 1
       through 10 inclusive,
16
17                                         Defendants.

18
19                                                        I

20                                               Introduction

21           This is an employment case arising out of the alleged constructive discharge from

22    employment of Michael Erwine from the Churchill County Sheriff’s Office on October 10, 2016.

23    Erwine filed his complaint on September 28, 2018, and an amended complaint on August 6,

24    2020. The amended complaint contains a claim premised upon 42 U.S.C. §1983 and the

25    Fourteenth Amendment of the United States Constitution and Article 1, §8(5) of the Nevada

26    Constitution based upon the alleged violation of a liberty interest without adequate process.

27    Erwine seeks damages against both Ben Trotter, former Sheriff of Churchill County, and

28    Churchill County under this particular liberty interest theory of relief. Mr. Trotter is sued



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 1    individually for his participation in the alleged constitutional violation and Churchill County is
 2    sued on the basis of Mr. Trotter’s position as a policy-making official for Churchill County at the
 3    time of the alleged violation. Erwine also seeks damages under several state tort claims,
 4    including defamation, intentional interference with prospective employment opportunities, and
 5    tortious constructive discharge.
 6                                                     II
 7                                            Underlying Facts
 8           The facts which form the basis of the Defendants’ Motion for Summary Judgment are
 9    uncontested and, in fact, many of the facts discussed herein have been deemed admitted by the
10    parties as set forth in the Pretrial Order (Doc. No. 142). These uncontested facts support the
11    entry of judgment in favor of the Defendants on Plaintiff’s constitutional claims as a matter of
12    law.
13           Erwine worked as a deputy sheriff at the Churchill County Sheriff’s Office from
14    December 9, 2015, until October 10, 2016, when he resigned in lieu of termination. See, Pretrial
15    Order, Doc. No. 142, p. 2, Admitted Fact No. 1. Erwine was a probationary employee at the
16    time of his separation from employment with Churchill County.1 Following Erwine’s separation
17    from employment, Trotter prepared a memorandum dated October 10, 2016, concerning the
18    reasons for his decision to terminate Erwine’s employment during his probationary period. The
19    memorandum was placed in Erwine’s personnel file but was not shown to Erwine. See, Pretrial
20    Order, Doc. No. 142, p. 2, Admitted Fact No. 5 and p. 3, Admitted Fact No. 9. Erwine claims
21    that the statements in the memorandum are false and defamatory. Mr. Trotter and the County
22    deny Erwine’s allegations in this regard. In December of 2016, Churchill County received a
23    request from the Washoe County Sheriff’s Office for a copy of Erwine’s personnel file,
24    accompanied by an authorization for release of the information to WCSO signed by Erwine, and
25    Churchill County complied with the request.
26
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       Erwine dismissed his due process claim based upon an alleged protected property interest on
28    April 29, 2021, because of his status as a probationary employee at the time of his separation
      from employment with Churchill County. See, Stipulation for Dismissal of 42 U.S.C. 1983 Due
      Process Property Interest Claim, Doc. No. 113.
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 1           Following his separation from employment with Churchill County, Erwine worked as a
 2    security guard for Allied Universal from April 25, 2017, to January 18, 2018. Id. at 65.
 3    Thereafter, from January 8, 2018, through April 4, 2018, Erwine worked as a police officer with
 4    the Pyramid Lake Paiute Tribe. Id. at 44. Erwine was terminated by the Pyramid Lake Paiute
 5    Tribe for failure to have passed his probationary period on or about April 4, 2018. Id. at 44 and
 6    53. Erwine was again employed as a security officer with a company called Triumph Protection
 7    Group from June 28, 2018, through October 27, 2019. See, Pretrial Order, Doc. No. 142, p. 3,
 8    Admitted Fact No. 16. In November of 2019, Erwine began working as a police officer with the
 9    Washoe Tribe of Nevada and California at an hourly rate of 25.00 per hour (a job he was offered
10    on July 10, 2019). Id. at 25 and 28.
11           At the time of his deposition on December 17, 2020, Erwine had completed his one-year
12    probationary period with the Washoe Tribe and was earning $25.85 per hour plus medical
13    benefits. Id. at 18-19.2 During his deposition, Erwine admitted that his position with the
14    Washoe Tribe is in the field (law enforcement) in which he desires to be employed. Id. at 23.
15    Erwine also testified that, in his position as a police officer with the Washoe Tribe, his job duties
16    include, “everything you can imagine a general law enforcement officer handles.” Id. at 18.
17    Although Erwine did not pass his probationary period with the Pyramid Lake Paiute Tribe,
18    Erwine testified that his duties with that agency included the same duties he has currently with
19    the Washoe Tribe. Id. at 42. He further testified that, with the Pyramid Lake Paiute Tribe, his
20    job duties included, “everything from minor traffic enforcement to in-depth investigations of
21    crimes.” Id. at 42-43.
22           Erwine was convicted of driving under the influence in June of 2011. Id. at 77. Prior to
23    being hired by the Churchill County Sheriff’s Office, Erwine applied for, and was rejected from,
24    law enforcement positions with the Washoe County Sheriff’s Office, the Sparks Police
25    Department, the Lyon County Sheriff’s Office, the Fallon Tribal Police, and the Washoe Tribal
26    Police. Id. at 72, 75-80.
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      2
       Erwine was earning more with the Washoe Tribe of Nevada and California than he was earning
      as a detention deputy with the Churchill County Sheriff’s Office. See, Exhibit 1, p. 112.
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 1           Following his separation from employment with Churchill County, Erwine applied to
 2    several other law enforcement agencies besides the two tribal agencies with which he gained
 3    employment, including the Reno Police Department and the North Las Vegas Police Department.
 4    Despite what is alleged in his Amended Complaint, neither of these agencies received the Trotter
 5    memorandum. See, Exhibit 2, letter from Reno City Attorney’s Office in response to subpoena
 6    duces tecum and subpoena duces tecum; see also, Exhibit 3, response of North Las Vegas Police
 7    Department to subpoena duces tecum and subpoena duces tecum. Thus, the only evidence that
 8    has been adduced in this case is that the Washoe County Sheriff’s Office received the Trotter
 9    memorandum and that Ben Trotter may have spoken to someone associated with the Las Vegas
10    Metropolitan Police Department (although there is no evidence that LVMPD received the Trotter
11    memorandum). There is no evidence that any of the other non-tribal agencies with which Erwine
12    applied ever received the Trotter memorandum or any other information from Churchill County.
13    Plaintiff cannot make out a prima facie case under the specific liberty interest claim pled in this
14    case (and which constitutes the only avenue for Plaintiff’s recovery given that he was a
15    probationary employee who had no protected property interest in continued employment), as he
16    cannot, as a matter of law, demonstrate that he has been effectively excluded from his chosen
17    profession by any allegedly stigmatizing statements attributed to, or made by, Ben Trotter. In
18    other words, Plaintiff cannot, nearly three and a half years after he filed his complaint, prove the
19    element of causation that is a prima facie element of his constitutional claims for relief and upon
20    which the Plaintiff bears the burden of proof by a preponderance of the evidence. Plaintiff
21    cannot rely upon the argument that he was effectively excluded from employment in his chosen
22    field as a result of conduct by the Defendants with reference to evidence that only two agencies
23    who rejected him from employment after October 10, 2016, received any information from
24    Churchill County and/or Ben Trotter (and without meaningful evidence that these agencies
25    rejected him as a result of the Trotter memorandum or statements allegedly made by Trotter).
26     As such, and for the reasons set forth herein, summary judgment must be entered in favor of the
27    Defendants on Plaintiff’s liberty interest claims.
28    ///



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 1                                                      III
 2                                               Legal Analysis
 3    I.      STANDARD OF REVIEW
 4            Pursuant to Rule 56 of the Federal Rules of Civil Procedure, summary judgment is
 5    always proper “if the pleadings, depositions, answers to interrogatories, and admissions on file,
 6    together with the affidavits, if any, show that there are no genuine issues as to any material fact
 7    and the moving party is entitled to a judgment as a matter of law.” A party is entitled to summary
 8    judgment where the documentary evidence produced by the parties permits only one conclusion.
 9    Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251, 106 S. Ct. 2505 (1986).
10            The party seeking summary judgment bears the initial burden of informing the Court of
11    the basis of its motion and identifying those portions of the pleadings, depositions, answers to
12    interrogatories, and admissions on file, together with the affidavits, if any, that it believes
13    demonstrate the absence of any genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S.
14    317, 323, 106 S. Ct. 2548 (1986). Where the moving party has met its initial burden with a
15    properly supported motion, the party opposing the motion “may not rest upon the mere
16    allegations or denials of his pleading, but . . . must set forth specific facts showing that there is a
17    genuine issue for trial.” Anderson, 477 U.S. at 248. Further, the opposing party cannot rest on
18    mere allegations of facts without “any significant probative evidence tending to support the
19    complaint.” Id., 477 U.S. at 249. If the evidence is merely colorable or is not significantly
20    probative, summary judgment may be granted. Id., at 249-50. There is no issue for trial unless
21    there is sufficient evidence favoring the nonmoving party for a jury to return a verdict in favor of
22    that party. First Nat. Bank of Ariz. v. Cities Service Co., 391 U.S., 253, 288-289, 88 S. Ct. 1575,
23    1592 (1968). Speculation, unsupported by facts, is manifestly inadequate to stave off summary
24    judgment. See, Trahan v. Wayfair Maine, LLC., 957 F.3d 54, 62 (1st Cir. 2020). “A party cannot
25    ward off summary judgment with proffers that depend on arrant speculation, optimistic surmise
26    or farfetched inference.” See, Lang v. Wal-Mart Stores East, L.P., 813 F.3d 447, 460 (1st Cir.
27    2016)(internal citation omitted).
28    ///



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 1           Here, the undisputed evidence demonstrates that there is no genuine issue of material fact
 2    on the Plaintiff’s constitutional claims and Plaintiff’s constitutional claims in this case are based
 3    upon pure speculation not supported by evidence. Plaintiff simply cannot, on the facts adduced
 4    in this case, prove that he was effectively excluded from his chosen field as a causal result of the
 5    actions of the Defendants. Absent such evidence, there are no genuine issues of material fact for
 6    the jury on Plaintiff’s constitutional claims.
 7
      II.    PLAINTIFF CANNOT MAKE OUT A PRIMA FACIE CASE UNDER 42 U.S.C.
 8           §1983 UNDER EITHER THE FOURTEENTH AMENDMENT OR ARTICLE 1,
             §8(5) OF THE NEVADA CONSTITUTION BASED UPON AN ALLEGED
 9           VIOLATION OF A LIBERTY INTEREST.
10           Erwine’s §1983 claim, whether pled against Trotter individually or Churchill County
11    under a Monell theory, is one for violation of an alleged liberty interest protected by the
12    Fourteenth Amendment. Erwine was a probationary employee at the time of his resignation
13    from employment with the County and he had no protected property interest in continued
14    employment. As a result, Erwine’s only avenue for recovery is under the very specific “stigma
15    plus” test carved out by the Courts in particular circumstances. As fully articulated by the Court
16    in its order denying Erwine’s motion for summary judgment on the federal claim, in order to
17    make out a prima facie case under this legal theory, Erwine must show that the Defendants
18    deprived him of a protected liberty interest without adequate process. In the public employment
19    context, Erwine must show that he was terminated from his employment in conjunction with a
20    stigmatizing statement. Board of Regents v. Roth, 408 U.S. 564, 573 (1972). Erwine must prove
21    both of these elements and, in addition, must show that the statement was false and, to be
22    sufficiently stigmatizing, that it impaired his reputation for honesty or morality. Tibbetts v.
23    Kulongoski, 567 F.3d 529, 535-36 (9th Cir. 2009); see also, Brady v. Gebbie, 859 F.2d 1543,
24    1552 (9th Cir. 1988).
25           Further, the statements must be so severe as to, “effectively exclude the employee
26    completely from [his] chosen profession.” Blantz v. California Dep’t of Corr. & Rehab., Div. of
27     Corr. Health Care Servs., 727 F.3d 917, 925 (9th Cir. 2013). As also pointed out by this Court,
28    stigmatizing statements that merely cause, “reduced economic returns and diminished prestige,



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 1    but not permanent exclusion from, or protracted interruption of, gainful employment within the
 2    trade or profession,” do not constitute a deprivation of liberty.” Id. The Ninth Circuit Court of
 3    Appeals has, “consistently held that people do not have liberty interests in a specific employer.”
 4    Llamas v. Butte Cmty. Coll. Dist., 238 F.3d 1123, 1128 (9th Cir. 2001). Rather, the due process
 5    clause protects a generalized right to choose one’s field of private employment. Id. at 1128
 6    (quoting Conn v. Gabbert, 526 U.S. 286, 292 (1999)).
 7           Without conceding that Erwine was terminated from Churchill County’s employ in
 8    connection with false, stigmatizing statements, the undisputed evidence demonstrates that
 9    Erwine obtained employment as a law enforcement officer with the Pyramid Lake Paiute Tribe
10    on January 8, 2018, and, in fact, the parties have so stipulated in this case. See, Pretrial Order,
11    Doc. No. 142, p. 2. Admitted Fact No. 15. Erwine was terminated from the Pyramid Lake Paiute
12    Tribe during his probationary period effective April 4, 2018. See, Exhibit 1, p. 53. Thereafter, in
13    November of 2019, Erwine began working as a law enforcement officer for the Washoe Tribe of
14    Nevada and California, a law enforcement agency for which Erwine continues to work at the
15    present time. Id. at 18-19. Erwine testified during his deposition that, in both of these positions,
16    he performed all of the duties of a law enforcement officer. In terms of his current position,
17    Erwine testified that his job duties include, “[e]verything you can imagine a general law
18    enforcement officer handles.” Id. at 18. Erwine further testified that, while not the “most
19    desirable position” to him, his job with the Washoe Tribe “is a job in the field that I wish to work
20    in.” Id. at 23. Erwine testified during his deposition that he could not recall when he applied for
21    a law enforcement position with the Paiute Tribe. However, he estimated it was six to eight
22    months prior to his hire date of January 8, 2018. Id. at 31-32. According to Erwine’s testimony,
23    the hiring process in the law enforcement field generally takes that amount of time to be
24    completed. Id. at 32. Erwine did not sustain a protracted interruption of employment in law
25    enforcement as a result of any actions of Churchill County. Rather, according to Erwine’s own
26    testimony, the hiring process in the field of law enforcement is fairly lengthy as a rule.
27           In addition, Erwine has no evidence to support his claim that all other non-tribal law
28    enforcement agencies to which he applied rejected him from employment because of the Trotter



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 1     memorandum or any information provided to them by the Defendants. In fact, recently disclosed
 2     evidence (evidence disclosed by the Plaintiff on February 11, 2022) indicates that at least two
 3     non-tribal agencies, including the Reno Police Department and the North Las Vegas Police
 4     Department, did not receive the Trotter memorandum or any other information from Churchill
 5     County in connection with Erwine’s applications for employment with those agencies. See,
 6     Exhibit 2 and Exhibit 3. Thus, there need be no debate on the issue of whether employment as a
 7     law enforcement officer with a tribal agency is somehow not employment in the Plaintiff’s
 8     chosen field (although Defendants believe the opposite is true). The law does not guarantee the
 9     Plaintiff a right to work in his chosen field for a specific employer and the Ninth Circuit has
10     made this point of law clear. See, Llamas, supra at 1128. Rather, the due process clause protects
11     a generalized right to choose one’s field of private employment. Id. at 1128. Plaintiff is
12     employed in his field of private employment and has been since he commenced working for the
13     Pyramid Lake Paiute Tribe. Further, there is no evidence to support Plaintiff’s mere assumption
14     that all other non-tribal agencies rejected him from employment because of any actions of
15     Churchill County or Ben Trotter. The fact that one of the seven law enforcement agencies with
16     which Erwine applied after his separation from employment (WCSO) received the Trotter
17     memorandum (without any evidence that the Trotter memorandum was the reason for Plaintiff’s
18     rejection from employment with same, especially given the fact that Plaintiff had applied with,
19     and been rejected by, WCSO in 2015 before his employment with Churchill County) does not
20     prove that the Plaintiff was effectively excluded from his chosen profession. The fact that an
21     employee of one other law enforcement agency (LVMPD) may have had a conversation with
22     Trotter regarding Erwine after October 10, 2016, does not prove that the Plaintiff was effectively
23     excluded from his chosen profession. The Plaintiff is, in fact, working in his chosen profession.
24     Further, the evidence indicates that at least two other agencies, Reno Police Department and
25     North Las Vegas Police Department, did not receive the Trotter memorandum or any other
26     information from Churchill County and still rejected Plaintiff’s applications for employment.
27             These admissions are fatal to Erwine’s §1983 claim against Trotter, as well as his §1983
28     claim against Churchill County premised upon the actions of Trotter as a final policy-making
       official.

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 1            As for Plaintiff’s claim premised upon the Nevada Constitution, the due process clause
 2     set forth at Article I, §8(5) of the Nevada Constitution is identical to that set forth in the United
 3     States Constitution and it must be analyzed in the same manner as is Erwine’s §1983 claim
 4     premised upon the Fourteenth Amendment. See, Rodriguez v. Dist. Ct., 120 Nev. 798, 102 P.3d
 5     41, 48, n. 22 (2004). The Nevada Supreme Court has held that the state constitutional due
 6     process clause may give rise to liability under the Roth stigma-plus test. Id. The analysis of this
 7     claim does not differ from that to be applied to Plaintiff’s Fourteenth Amendment claim and
 8     summary judgment must be entered in favor of the Defendants as discussed above.
 9            It is apparent that Erwine intends to argue that he is entitled to judgment in his favor of
10     his §1983 claim because the memorandum of October 10, 2016, was placed in Erwine’s file in
11     violation of NRS 289.040. Erwine clearly believes that certain admissions by the Defendants
12     concerning treatment of the memorandum as related to several sections of Chapter 289 compel
13     judgment in his favor. In other words, Erwine intends to argue that a violation of Chapter 289
14     equates to a per se violation of his due process rights under the Fourteenth Amendment and
15     Article 1, §8(5) of the Nevada Constitution. This is not the law.
16            While Chapter 289 does set forth procedural requirements applicable to law enforcement
17     officers, these procedural requirements are not ends in themselves protected by the due process
18     clause. See, Olim v. Wakinekona, 461 U.S. 238, 251 (1983); see also, Town of Castle Rock,
19     Colo. v. Gonzales, 545 U.S. 748, 771 (2005). Procedural requirements such as those described in
20     Chapter 289 of the Nevada Revised Statutes, “even if mandatory, do not raise a constitutionally
21     cognizable liberty interest.” Toussaint v. McCarthy, 801 F.2d 1080, 1098 (9th Cir. 1986)
22     abrogated in part on other grounds by Sandin v. Conner, 515 U.S. 472, 482-83 (1995).
23            In enacting Chapter 289, the legislature provided for a specific remedy available to law
24     enforcement officers aggrieved by an action of an employer for a violation of same. NRS
25     289.120 provides that, after exhausting any applicable internal or collectively bargained-for
26     grievance procedures, an officer who believes his rights under Chapter 289 are violated may
27     apply to the district court for judicial relief. This remedy also empowers the district court with
28     authority to order appropriate injunctive or other extraordinary relief (such as, for example, a



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 1     name-clearing hearing) to prevent further violation of Chapter 289’s provision or any retaliatory
 2     conduct by the employer on account of an employee’s actions in exercising his rights under
 3     same. See, NRS 289.120.
 4            Erwine elected not to pursue such a remedy and, instead filed a due process claim in this
 5     Court under §1983.3 Erwine had no protected property interest in his job with Churchill County.
 6     As such, Erwine is limited to pursuing his due process claim as a liberty interest violation.
 7     Erwine cannot make out a prima facie liberty interest claim here based upon (among other
 8     things) the uncontroverted evidence the Erwine has not been effectively excluded completely
 9     from his career as a law enforcement officer as a result of the actions of Trotter. Having elected
10     his remedy in the form of a federal civil rights case premised upon a liberty interest, Plaintiff
11     must meet the prima facie elements of his Fourteenth Amendment and state constitutional claims
12     for relief and he cannot do so for the reasons set forth herein.
13            Nothing in the language of the statute suggests that the Nevada legislature intended to
14     create due process rights greater than those protected by the Fourteenth Amendment in enacting
15     the relevant provisions of Chapter 289 and the Nevada Supreme Court has never so held. Given
16     the allegations in his amended complaint, Erwine must prove those elements required of a
17     stigma-plus type liberty interest claim (as it is pled in the amended complaint) whether analyzed
18     under the Fourteenth Amendment of the United States Constitution or Article 1, §8(5) of the
19     Nevada Constitution. The uncontroverted evidence demonstrates that he cannot make out a
20     prima facie case on this legal theory and the procedural requirements pertaining to law
21     enforcement officers do not create a liberty interest in and of themselves protected by the due
22     process clause.
23            Erwine’s §1983 claim against Churchill County under a Monell theory is premised solely
24     upon the fact that Trotter was a final policy-making official for Churchill County at the time of
25     the events in question. As such, it is indistinguishable from a legal analysis standpoint from his
26
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       3
        Even before Erwine’s separation from employment with Churchill County, he was consulting
28     with Michael Giurlani, his alleged expert on all things related to Chapter 289 of the Nevada
       Revised Statutes, regarding the circumstances of his employment because he was “looking for
       advice.” See, Exhibit 1, p. 126-127.
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 1     claim against Trotter individually and this claim too must be dismissed and judgment entered in
 2     Defendants’ favor as a matter of law.
 3
       III.   PLAINTIFF’S STATE LAW CLAIMS SHOULD BE DISMISSED ON
 4            JURISDICTIONAL GROUNDS.

 5            28 U.S.C. §1367(a) allows the federal court to exercise supplemental jurisdiction over a

 6     plaintiff’s claims arising out of state law where said claims form part of the same case or

 7     controversy as do the federal questions at issue. The court may decline, however, to exercise

 8     supplemental jurisdiction over state law claims if the court determines that the federal claims

 9     warrant dismissal. See, 28 U.S.C. §1367(c)(3).

10            The exercise of supplemental, or pendent jurisdiction, “is a doctrine of discretion, not of

11     plaintiff’s right.” See, United Mine Workers of America v. Gibbs, 383 U.S. 715, 726 (1966). “If

12     the federal claims are dismissed before trial, even though not insubstantial in a jurisdictional

13     sense, the state claims should be dismissed as well. Id. Issues of “judicial economy,

14     convenience and fairness to litigants” are relevant when considering the exercise of jurisdiction

15     under §1367(a).

16            Should the Court find in favor of Defendants in regard to Plaintiff’s claims arising under

17     §1983, Plaintiff’s state tort claims for defamation, tortious constructive discharge, and intentional

18     interference with prospective employment opportunities should be dismissed, as well, and those

19     claims allowed to proceed in Churchill County in accordance with NRS 13.030(actions against a

20     county may be commenced in the district court of the judicial court embracing the county).

21                                                      IV

22                                                 Conclusion

23            Given all that has transpired in this case, including the production of documents made on

24     February 11, 2022, that contradict allegations in the amended complaint that Plaintiff was

25     effectively denied employment as a law enforcement officer because of the Trotter

26     memorandum, no genuine issues of material fact remain as to Plaintiff’s liberty interest claim,

27     whether based on the Fourteenth Amendment of the United States Constitution or its identical

28



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 1     state constitutional counterpart set forth at Article 1, §8(5), and summary judgment should be
 2     granted in favor of the Defendants. The Court should further exercise its discretion to dismiss
 3     the remaining state law claims pursuant to 28 U.S.C. §1367(c)(3).
 4
              DATED this 24th day of February, 2022.
 5
                                                    THORNDAL ARMSTRONG
 6                                                  DELK BALKENBUSH & EISINGER
 7
                                                    By: /s/ Katherine F. Parks
 8                                                     Katherine F. Parks, Esq.
                                                       State Bar No. 6227
 9                                                     6590 S. McCarran Blvd., Suite B
10                                                     Reno, Nevada 89509
                                                       (775) 786-2882
11                                                     kfp@thorndal.com
                                                       Attorneys for Defendants
12                                                     CHURCHILL COUNTY AND
13                                                     BENJAMIN TROTTER

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                                       CERTIFICATE OF SERVICE
 1
 2            Pursuant to FRCP 5(b), I certify that I am an employee of THORNDAL ARMSTRONG

 3     DELK BALKENBUSH & EISINGER, and that on this date I caused the foregoing DEFENDANTS’
 4
       MOTION FOR SUMMARY JUDGMENT to be served on all parties to this action by:
 5
              placing an original or true copy thereof in a sealed, postage prepaid, envelope in the
 6
 7            United States mail at Reno, Nevada.

 8       ✓    United States District Court, District of Nevada CM/ ECF (Electronic Case Filing)
 9
       _____ personal delivery
10
       ____   facsimile (fax)
11
12     _____ Federal Express/UPS or other overnight delivery

13     fully addressed as follows:
14                                            Luke Busby, Esq.
15                                         316 California Ave., #82
                                               Reno, NV 89509
16                                           Attorney for Plaintiff
17            DATED this 24th day of February, 2022.
18
                                                    /s/ Rachel L. Atchley
19                                                  An employee of THORNDAL ARMSTRONG
                                                    DELK BALKENBUSH & EISINGER
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       Erwine v. Churchill County, et al.                    Case No: 3:18-cv-00461-RCJ-CSD
 1
 2
 3                                          INDEX OF EXHIBITS
 4
         Exhibit    Description                                                      No. of
 5        No.                                                                        Pages
           1        Excerpts from Deposition of Michael Erwine                         23
 6         2        Subpoena Duces Tecum to Reno Police Department and Response from    4
 7                  Reno City Attorney
            3       Subpoena Duces Tecum to North Las Vegas Police Department and       4
 8                  Response from Custodian of Records of North Las Vegas Police
                    Department
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